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                                                                        FILED IN THE
                                                                    U.S. DISTRICT COURT
                                                              EASTERN DISTRICT OF WASHINGTON



                                                               Nov 01, 2022
                                                                   SEAN F. MCAVOY, CLERK
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